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         EXHIBIT
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                                 Discover        Design        Develop        Distribute   Support      Account


     App Store                                                                               Overview     Articles   Guidelines   Submitting




                                      App Store Review Guidelines
                       Apps are changing the world, enriching people’s lives, and enabling
                         developers like you to innovate like never before. As a result, the
                          App Store has grown into an exciting and vibrant ecosystem for
                         millions of developers and more than a billion users. Whether you
                                are a first time developer or a large team of experienced
                          programmers, we are excited that you are creating apps for the
                         App Store and want to help you understand our guidelines so you
                            can be confident your app will get through the review process
                                                                         quickly.




              Introduction
              Before You Submit
              1. Safety
              2. Performance
              3. Business
              4. Design
              5. Legal
              After You Submit


          Introduction
          The guiding principle of the App Store is simple - we want to provide
          a safe experience for users to get apps and a great opportunity for
          all developers to be successful. We do this by offering a highly
          curated App Store where every app is reviewed by experts and an



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          editorial team helps users discover new apps every day. For
          everything else there is always the open Internet. If the App Store
          model and guidelines are not best for your app or business idea
          that’s okay, we provide Safari for a great web experience too.

          On the following pages you will find our latest guidelines arranged
          into five clear sections: Safety, Performance, Business, Design, and
          Legal. The App Store is always changing and improving to keep up
          with the needs of our customers and our products. Your apps should
          change and improve as well in order to stay on the App Store.

          A few other points to keep in mind:

              We have lots of kids downloading lots of apps. Parental controls
              work great to protect kids, but you have to do your part too. So
              know that we’re keeping an eye out for the kids.

              The App Store is a great way to reach hundreds of millions of
              people around the world. If you build an app that you just want to
              show to family and friends, the App Store isn’t the best way to do
              that. Consider using Xcode to install your app on a device for free
              or use Ad Hoc distribution available to Apple Developer Program
              members. If you’re just getting started, learn more about the
              Apple Developer Program.

              We strongly support all points of view being represented on the
              App Store, as long as the apps are respectful to users with
              differing opinions and the quality of the app experience is great.
              We will reject apps for any content or behavior that we believe is
              over the line. What line, you ask? Well, as a Supreme Court
              Justice once said, “I’ll know it when I see it”. And we think that you
              will also know it when you cross it.

              If you attempt to cheat the system (for example, by trying to trick
              the review process, steal user data, copy another developer’s
              work, manipulate ratings or App Store discovery) your apps will be
              removed from the store and you will be expelled from the
              Developer Program.

              You are responsible for making sure everything in your app
              complies with these guidelines, including ad networks, analytics
              services, and third-party SDKs, so review and choose them


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              carefully.

              Some features and technologies that are not generally available to
              developers may be offered as an entitlement for limited use
              cases. For example, we offer entitlements for CarPlay Audio,
              HyperVisor, and Privileged File Operations. Review our
              documentation on developer.apple.com to learn more about
              entitlements.

          We hope these guidelines help you sail through the App Review
          process, and that approvals and rejections remain consistent across
          the board. This is a living document; new apps presenting new
          questions may result in new rules at any time. Perhaps your app will
          trigger this. We love this stuff too, and honor what you do. We’re
          really trying our best to create the best platform in the world for you
          to express your talents and make a living, too.




          Before You Submit
          To help your app approval go as smoothly as possible, review the
          common missteps listed below that can slow down the review
          process or trigger a rejection. This doesn’t replace the guidelines or
          guarantee approval, but making sure you can check every item on
          the list is a good start. If your app no longer functions as intended or
          you’re no longer actively supporting it, it will be removed from the
          App Store. Learn more about App Store Improvements.

          Make sure you:

              Test your app for crashes and bugs

              Ensure that all app information and metadata is complete and
              accurate

              Update your contact information in case App Review needs to
              reach you

              Provide an active demo account and login information, plus any
              other hardware or resources that might be needed to review your


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              app (e.g. login credentials or a sample QR code)

              Enable backend services so that they’re live and accessible
              during review

              Include detailed explanations of non-obvious features and in-app
              purchases in the App Review notes, including supporting
              documentation where appropriate.

              Check whether your app follows guidance in other documentation,
              such as:

              Development Guidelines
                 UIKit
                    AppKit
                    WatchKit
                    App Extension Programming Guide
                    iOS Data Storage Guidelines
                    macOS File System Documentation
                    Safari App Extensions
                    App Store Connect Help

              Design Guidelines
                 Human Interface Guidelines

              Brand and Marketing Guidelines
                 Marketing Resources and Identity Guidelines
                    Apple Pay Identity Guidelines
                    Add to Apple Wallet Guidelines
                    Guidelines for Using Apple Trademarks and Copyrights




          1. Safety
          When people install an app from the App Store, they want to feel
          confident that it’s safe to do so—that the app doesn’t contain
          upsetting or offensive content, won’t damage their device, and isn’t
          likely to cause physical harm from its use. We’ve outlined the major


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          pitfalls below, but if you’re looking to shock and offend people, the
          App Store isn’t the right place for your app.

              1.1 Objectionable Content
              Apps should not include content that is offensive, insensitive,
              upsetting, intended to disgust, in exceptionally poor taste, or just
              plain creepy. Examples of such content include:

                  1.1.1 Defamatory, discriminatory, or mean-spirited content,
                  including references or commentary about religion, race, sexual
                  orientation, gender, national/ethnic origin, or other targeted
                  groups, particularly if the app is likely to humiliate, intimidate, or
                  harm a targeted individual or group. Professional political
                  satirists and humorists are generally exempt from this
                  requirement.

                  1.1.2 Realistic portrayals of people or animals being killed,
                  maimed, tortured, or abused, or content that encourages
                  violence. “Enemies” within the context of a game cannot solely
                  target a specific race, culture, real government, corporation, or
                  any other real entity.

                  1.1.3 Depictions that encourage illegal or reckless use of
                  weapons and dangerous objects, or facilitate the purchase of
                  firearms or ammunition.

                  1.1.4 Overtly sexual or pornographic material, defined by
                  Webster’s Dictionary as "explicit descriptions or displays of
                  sexual organs or activities intended to stimulate erotic rather
                  than aesthetic or emotional feelings."

                  1.1.5 Inflammatory religious commentary or inaccurate or
                  misleading quotations of religious texts.

                  1.1.6 False information and features, including inaccurate
                  device data or trick/joke functionality, such as fake location
                  trackers. Stating that the app is “for entertainment purposes”
                  won’t overcome this guideline. Apps that enable anonymous or
                  prank phone calls or SMS/MMS messaging will be rejected.

              1.2 User Generated Content
              Apps with user-generated content present particular challenges,
              ranging from intellectual property infringement to anonymous

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              bullying. To prevent abuse, apps with user-generated content or
              social networking services must include:

                  A method for filtering objectionable material from being posted
                  to the app

                  A mechanism to report offensive content and timely responses
                  to concerns

                  The ability to block abusive users from the service

                  Published contact information so users can easily reach you

              Apps with user-generated content or services that end up being
              used primarily for pornographic content, Chatroulette-style
              experiences, objectification of real people (e.g. “hot-or-not”
              voting), making physical threats, or bullying do not belong on the
              App Store and may be removed without notice. If your app
              includes user-generated content from a web-based service, it may
              display incidental mature “NSFW” content, provided that the
              content is hidden by default and only displayed when the user
              turns it on via your website.

              1.3 Kids Category
              The Kids Category is a great way for people to easily find apps
              that are designed for children. If you want to participate in the Kids
              Category, you should focus on creating a great experience
              specifically for younger users. These apps must not include links
              out of the app, purchasing opportunities, or other distractions to
              kids unless reserved for a designated area behind a parental gate.
              Keep in mind that once customers expect your app to follow the
              Kids Category requirements, it will need to continue to meet these
              guidelines in subsequent updates, even if you decide to deselect
              the category. Learn more about parental gates.

              You must comply with applicable privacy laws around the world
              relating to the collection of data from children online. Be sure to
              review the Privacy section of these guidelines for more
              information. In addition, Kids Category apps may not send
              personally identifiable information or device information to third
              parties. Apps in the Kids Category should not include third-party
              analytics or third-party advertising. This provides a safer


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              experience for kids. In limited cases, third-party analytics may be
              permitted provided that the services do not collect or transmit the
              IDFA or any identifiable information about children (such as name,
              date of birth, email address), their location, or their devices. This
              includes any device, network, or other information that could be
              used directly or combined with other information to identify users
              and their devices. Third-party contextual advertising may also be
              permitted in limited cases provided that the services have publicly
              documented practices and policies for Kids Category apps that
              include human review of ad creatives for age appropriateness.

              1.4 Physical Harm
              If your app behaves in a way that risks physical harm, we may
              reject it. For example:

                  1.4.1 Medical apps that could provide inaccurate data or
                  information, or that could be used for diagnosing or treating
                  patients may be reviewed with greater scrutiny.

                      Apps must clearly disclose data and methodology to support
                      accuracy claims relating to health measurements, and if the
                      level of accuracy or methodology cannot be validated, we
                      will reject your app. For example, apps that claim to take x-
                      rays, measure blood pressure, body temperature, blood
                      glucose levels, or blood oxygen levels using only the
                      sensors on the device are not permitted.

                      Apps should remind users to check with a doctor in addition
                      to using the app and before making medical decisions.

                  If your medical app has received regulatory clearance, please
                  submit a link to that documentation with your app.

                  1.4.2 Drug dosage calculators must come from the drug
                  manufacturer, a hospital, university, health insurance company,
                  pharmacy or other approved entity, or receive approval by the
                  FDA or one of its international counterparts. Given the potential
                  harm to patients, we need to be sure that the app will be
                  supported and updated over the long term.

                  1.4.3 Apps that encourage consumption of tobacco and vape
                  products, illegal drugs, or excessive amounts of alcohol are not


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                  permitted on the App Store. Apps that encourage minors to
                  consume any of these substances will be rejected. Facilitating
                  the sale of marijuana, tobacco, or controlled substances
                  (except for licensed pharmacies) isn’t allowed.

                  1.4.4 Apps may only display DUI checkpoints that are
                  published by law enforcement agencies, and should never
                  encourage drunk driving or other reckless behavior such as
                  excessive speed.

                  1.4.5 Apps should not urge customers to participate in activities
                  (like bets, challenges, etc.) or use their devices in a way that
                  risks physical harm to themselves or others.

              1.5 Developer Information
              People need to know how to reach you with questions and
              support issues. Make sure your app and its Support URL include
              an easy way to contact you; this is particularly important for apps
              that may be used in the classroom. Failure to include accurate
              and up-to-date contact information not only frustrates customers,
              but may violate the law in some countries. Also ensure that Wallet
              passes include valid contact information from the issuer and are
              signed with a dedicated certificate assigned to the brand or
              trademark owner of the pass.

              1.6 Data Security
              Apps should implement appropriate security measures to ensure
              proper handling of user information collected pursuant to the
              Apple Developer Program License Agreement and these
              Guidelines (see Guideline 5.1 for more information) and prevent
              its unauthorized use, disclosure, or access by third parties.




          2. Performance
              2.1 App Completeness
              Submissions to App Review, including apps you make available
              for pre-order, should be final versions with all necessary metadata


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              and fully functional URLs included; placeholder text, empty
              websites, and other temporary content should be scrubbed before
              submission. Make sure your app has been tested on-device for
              bugs and stability before you submit it, and include demo account
              info (and turn on your back-end service!) if your app includes a
              login. If you offer in-app purchases in your app, make sure they
              are complete, up-to-date, and visible to the reviewer, or that you
              explain why not in your review notes. Please don’t treat App
              Review as a software testing service. We will reject incomplete
              app bundles and binaries that crash or exhibit obvious technical
              problems.

              2.2 Beta Testing
              Demos, betas, and trial versions of your app don’t belong on the
              App Store – use TestFlight instead. Any app submitted for beta
              distribution via TestFlight should be intended for public distribution
              and should comply with the App Review Guidelines. Note,
              however, that apps using TestFlight cannot be distributed to
              testers in exchange for compensation of any kind, including as a
              reward for crowd-sourced funding. Significant updates to your
              beta build should be submitted to TestFlight App Review before
              being distributed to your testers. To learn more, visit the TestFlight
              Beta Testing.

              2.3 Accurate Metadata
              Customers should know what they’re getting when they download
              or buy your app, so make sure your app description, screenshots,
              and previews accurately reflect the app’s core experience and
              remember to keep them up-to-date with new versions.

                  2.3.1 Don’t include any hidden or undocumented features in
                  your app; your app’s functionality should be clear to end-users
                  and App Review. Similarly, you should not market your app on
                  the App Store or offline as including content or services that it
                  does not actually offer (e.g. iOS-based virus and malware
                  scanners). Egregious or repeated behavior is grounds for
                  removal from the Developer Program. We work hard to make
                  the App Store a trustworthy ecosystem and expect our app
                  developers to follow suit; if you’re dishonest, we don’t want to
                  do business with you.


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                  2.3.2 If your app includes in-app purchases, make sure your
                  app description, screenshots, and previews clearly indicate
                  whether any featured items, levels, subscriptions, etc. require
                  additional purchases. If you decide to promote in-app
                  purchases on the App Store, ensure that the in-app purchase
                  Display Name, Screenshot and Description are appropriate for
                  a public audience, that you follow the guidance found in
                  Promoting Your In-App Purchases, and that your app properly
                  handles the SKPaymentTransactionObserver method so that
                  customers can seamlessly complete the purchase when your
                  app launches.

                  2.3.3 Screenshots should show the app in use, and not merely
                  the title art, log-in page, or splash screen. They may also
                  include text and image overlays (e.g. to demonstrate input
                  mechanisms, such as an animated touch point or Apple Pencil)
                  and show extended functionality on device, such as Touch Bar.

                  2.3.4 Previews are a great way for customers to see what your
                  app looks like and what it does. To ensure people understand
                  what they’ll be getting with your app, previews may only use
                  video screen captures of the app itself. Stickers and iMessage
                  extensions may show the user experience in the Messages
                  app. You can add narration and video or textual overlays to
                  help explain anything that isn’t clear from the video alone.

                  2.3.5 Select the most appropriate category for your app, and
                  check out the App Store Category Definitions if you need help.
                  If you’re way off base, we may change the category for you.

                  2.3.6 Answer the age rating questions in App Store Connect
                  honestly so that your app aligns properly with parental controls.
                  If your app is mis-rated, customers might be surprised by what
                  they get, or it could trigger an inquiry from government
                  regulators. If your app includes media that requires the display
                  of content ratings or warnings (e.g. films, music, games, etc.),
                  you are responsible for complying with local requirements in
                  each territory where your app is available.

                  2.3.7 Choose a unique app name, assign keywords that
                  accurately describe your app, and don’t try to pack any of your


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                  metadata with trademarked terms, popular app names, or other
                  irrelevant phrases just to game the system. App names must
                  be limited to 30 characters and should not include prices,
                  terms, or descriptions that are not the name of the app. App
                  subtitles are a great way to provide additional context for your
                  app; they must follow our standard metadata rules and should
                  not include inappropriate content, reference other apps, or
                  make unverifiable product claims. Apple may modify
                  inappropriate keywords at any time or take other appropriate
                  steps to prevent abuse.

                  2.3.8 Metadata should be appropriate for all audiences, so
                  make sure your app and in-app purchase icons, screenshots,
                  and previews adhere to a 4+ age rating even if your app is
                  rated higher. For example, if your app is a game that includes
                  violence, select images that don’t depict a gruesome death or a
                  gun pointed at a specific character. Use of terms like “For Kids”
                  and “For Children” in app metadata is reserved for the Kids
                  Category. Remember to ensure your metadata, including app
                  name and icons (small, large, Apple Watch app, alternate
                  icons, etc.), are similar to avoid creating confusion.

                  2.3.9 You are responsible for securing the rights to use all
                  materials in your app icons, screenshots, and previews, and
                  you should display fictional account information instead of data
                  from a real person.

                  2.3.10 Make sure your app is focused on the iOS, Mac,
                  Apple TV or Apple Watch experience, and don’t include names,
                  icons, or imagery of other mobile platforms in your app or
                  metadata, unless there is specific, approved interactive
                  functionality. Make sure your app metadata is focused on the
                  app itself and its experience. Don’t include irrelevant
                  information, including but not limited to information about Apple
                  or the development process.

                  2.3.11 Apps you submit for pre-order on the App Store must be
                  complete and deliverable as submitted. Ensure that the app
                  you ultimately release is not materially different from what you
                  advertise while the app is in a pre-order state. If you make
                  material changes to the app (e.g. change business models),


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                  you should restart your pre-order sales.

                  2.3.12 Apps must clearly describe new features and product
                  changes in their “What’s New” text. Simple bug fixes, security
                  updates, and performance improvements may rely on a generic
                  description, but more significant changes must be listed in the
                  notes.

              2.4 Hardware Compatibility

                  2.4.1 To ensure people get the most out of your app, iPhone
                  apps should run on iPad whenever possible. We encourage
                  you to consider building universal apps so customers can use
                  them on all of their devices. Learn more about Universal apps.

                  2.4.2 Design your app to use power efficiently and be used in a
                  way that does not risk damage to the device. Apps should not
                  rapidly drain battery, generate excessive heat, or put
                  unnecessary strain on device resources. For example, apps
                  should not encourage placing the device under a mattress or
                  pillow while charging or perform excessive write cycles to the
                  solid state drive. Apps, including any third-party advertisements
                  displayed within them, may not run unrelated background
                  processes, such as cryptocurrency mining.

                  2.4.3 People should be able to use your Apple TV app without
                  the need for hardware inputs beyond the Siri remote or third-
                  party game controllers, but feel free to provide enhanced
                  functionality when other peripherals are connected. If you
                  require a game controller, make sure you clearly explain that in
                  your metadata so customers know they need additional
                  equipment to play.

                  2.4.4 Apps should never suggest or require a restart of the
                  device or modifications to system settings unrelated to the core
                  functionality of the application. For example, don’t encourage
                  users to turn off Wi-Fi, disable security features, etc.

                  2.4.5 Apps distributed via the Mac App Store have some
                  additional requirements to keep in mind:

                      (i) They must be appropriately sandboxed, and follow



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                      macOS File System Documentation. They should also only
                      use the appropriate macOS APIs for modifying user data
                      stored by other Apps (e.g. bookmarks, Address Book, or
                      Calendar entries).

                      (ii) They must be packaged and submitted using
                      technologies provided in Xcode; no third-party installers
                      allowed. They must also be self-contained, single application
                      installation bundles and cannot install code or resources in
                      shared locations.

                      (iii) They may not auto-launch or have other code run
                      automatically at startup or login without consent nor spawn
                      processes that continue to run without consent after a user
                      has quit the app. They should not automatically add their
                      icons to the Dock or leave short cuts on the user desktop.

                      (iv) They may not download or install standalone apps,
                      kexts, additional code, or resources to add functionality or
                      significantly change the app from what we see during the
                      review process.

                      (v) They may not request escalation to root privileges or use
                      setuid attributes.

                      (vi) They may not present a license screen at launch, require
                      license keys, or implement their own copy protection.

                      (vii) They must use the Mac App Store to distribute updates;
                      other update mechanisms are not allowed.

                      (viii) Apps should run on the currently shipping OS and may
                      not use deprecated or optionally installed technologies (e.g.
                      Java, Rosetta)

                      (ix) Apps must contain all language and localization support
                      in a single app bundle.

              2.5 Software Requirements

                  2.5.1 Apps may only use public APIs and must run on the
                  currently shipping OS. Learn more about public APIs. Keep
                  your apps up-to-date and make sure you phase out any
                  deprecated features, frameworks or technologies that will no


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                  longer be supported in future versions of an OS. Apps should
                  use APIs and frameworks for their intended purposes and
                  indicate that integration in their app description. For example,
                  the HomeKit framework should provide home automation
                  services; and HealthKit should be used for health and fitness
                  purposes and integrate with the Health app.

                  2.5.2 Apps should be self-contained in their bundles, and may
                  not read or write data outside the designated container area,
                  nor may they download, install, or execute code which
                  introduces or changes features or functionality of the app,
                  including other apps. Educational apps designed to teach,
                  develop, or allow students to test executable code may, in
                  limited circumstances, download code provided that such code
                  is not used for other purposes. Such apps must make the
                  source code provided by the Application completely viewable
                  and editable by the user.

                  2.5.3 Apps that transmit viruses, files, computer code, or
                  programs that may harm or disrupt the normal operation of the
                  operating system and/or hardware features, including Push
                  Notifications and Game Center, will be rejected. Egregious
                  violations and repeat behavior will result in removal from the
                  Developer Program.

                  2.5.4 Multitasking apps may only use background services for
                  their intended purposes: VoIP, audio playback, location, task
                  completion, local notifications, etc. If your app uses location
                  background mode, include a reminder that doing so may
                  dramatically decrease battery life.

                  2.5.5 Apps must be fully functional on IPv6-only networks.

                  2.5.6 Apps that browse the web must use the appropriate
                  WebKit framework and WebKit Javascript.

                  2.5.7 Video streaming content over a cellular network longer
                  than 10 minutes must use HTTP Live Streaming and include a
                  baseline 192 kbps HTTP Live stream.

                  2.5.8 Apps that create alternate desktop/home screen
                  environments or simulate multi-app widget experiences will be
                  rejected.

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                  2.5.9 Apps that alter or disable the functions of standard
                  switches, such as the Volume Up/Down and Ring/Silent
                  switches, or other native user interface elements or behaviors
                  will be rejected. For example, apps should not block links out to
                  other apps or other features that users would expect to work a
                  certain way. Learn more about proper handling of links.

                  2.5.10 Apps should not be submitted with empty ad banners or
                  test advertisements.

                  2.5.11 SiriKit and Shortcuts

                      (i) Apps integrating SiriKit and Shortcuts should only sign up
                      for intents they can handle without the support of an
                      additional app and that users would expect from the stated
                      functionality. For example, if your app is a meal planning
                      app, you should not incorporate an intent to start a workout,
                      even if the app shares integration with a fitness app.

                      (ii) Ensure that the vocabulary and phrases in your plist
                      pertains to your app and the Siri functionality of the intents
                      the app has registered for. Aliases must relate directly to
                      your app or company name and should not be generic terms
                      or include third-party app names or services.

                      (iii) Resolve the Siri request or Shortcut in the most direct
                      way possible and do not insert ads or other marketing
                      between the request and its fulfillment. Only request a
                      disambiguation when required to complete the task (e.g.
                      asking the user to specify a particular type of workout).

                  2.5.12 Apps using CallKit or including an SMS Fraud Extension
                  should only block phone numbers that are confirmed spam.
                  Apps that include call-, SMS-, and MMS- blocking functionality
                  or spam identification must clearly identify these features in
                  their marketing text and explain the criteria for their blocked
                  and spam lists. You may not use the data accessed via these
                  tools for any purpose not directly related to operating or
                  improving your app or extension (e.g. you may not use, share,
                  or sell it for tracking purposes, creating user profiles, etc.).

                  2.5.13 Apps using facial recognition for account authentication

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                  must use LocalAuthentication (and not ARKit or other facial
                  recognition technology) where possible, and must use an
                  alternate authentication method for users under 13 years old.

                  2.5.14 Apps must request explicit user consent and provide a
                  clear visual and/or audible indication when recording, logging,
                  or otherwise making a record of user activity. This includes any
                  use of the device camera, microphone, screen recordings, or
                  other user inputs.

                  2.5.15 Apps that enable users to view and select files should
                  include items from the Files app and the user’s iCloud
                  documents.




          3. Business
          There are many ways to monetize your app on the App Store. If your
          business model isn’t obvious, make sure to explain in its metadata
          and App Review notes. If we can’t understand how your app works
          or your in-app purchases aren’t immediately obvious, it will delay
          your review and may trigger a rejection. And while pricing is up to
          you, we won’t distribute apps and in-app purchase items that are
          clear rip-offs. We’ll reject expensive apps that try to cheat users with
          irrationally high prices.

          If we find that you have attempted to manipulate reviews, inflate your
          chart rankings with paid, incentivized, filtered, or fake feedback, or
          engage with third-party services to do so on your behalf, we will take
          steps to preserve the integrity of the App Store, which may include
          expelling you from the Developer Program.

              3.1 Payments

                  3.1.1 In-App Purchase:
                     If you want to unlock features or functionality within your
                     app, (by way of example: subscriptions, in-game currencies,
                     game levels, access to premium content, or unlocking a full


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                      version), you must use in-app purchase. Apps may not use
                      their own mechanisms to unlock content or functionality,
                      such as license keys, augmented reality markers, QR codes,
                      etc. Apps and their metadata may not include buttons,
                      external links, or other calls to action that direct customers to
                      purchasing mechanisms other than in-app purchase.

                      Apps may use in-app purchase currencies to enable
                      customers to “tip” digital content providers in the app.

                      Any credits or in-game currencies purchased via in-app
                      purchase may not expire, and you should make sure you
                      have a restore mechanism for any restorable in-app
                      purchases.

                      Remember to assign the correct purchasability type or your
                      app will be rejected.

                      Apps may enable gifting of items that are eligible for in-app
                      purchase to others. Such gifts may only be refunded to the
                      original purchaser and may not be exchanged.

                      Apps distributed via the Mac App Store may host plug-ins or
                      extensions that are enabled with mechanisms other than the
                      App Store.

                      Apps offering “loot boxes” or other mechanisms that provide
                      randomized virtual items for purchase must disclose the
                      odds of receiving each type of item to customers prior to
                      purchase.

                      Non-subscription apps may offer a free time-based trial
                      period before presenting a full unlock option by setting up a
                      Non-Consumable IAP item at Price Tier 0 that follows the
                      naming convention: “XX-day Trial.” Prior to the start of the
                      trial, your app must clearly identify its duration, the content or
                      services that will no longer be accessible when the trial
                      ends, and any downstream charges the user would need to
                      pay for full functionality. Learn more about managing content
                      access and the duration of the trial period using Receipts
                      and Device Check.

                  3.1.2 Subscriptions: Apps may offer auto-renewing in-app


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                  purchase subscriptions, regardless of category on the
                  App Store. When incorporating auto-renewable subscriptions
                  into your app, be sure to follow the guidelines below.

                  3.1.2(a) Permissible uses: If you offer an auto-renewing
                  subscription, you must provide ongoing value to the customer,
                  and the subscription period must last at least seven days and
                  be available across all of the user’s devices. While the following
                  list is not exhaustive, examples of appropriate subscriptions
                  include: new game levels; episodic content; multiplayer
                  support; apps that offer consistent, substantive updates;
                  access to large collections of, or continually updated, media
                  content; software as a service (“SAAS”); and cloud support. In
                  addition:

                      Subscriptions may be offered alongside a la carte offerings
                      (e.g. you may offer a subscription to an entire library of films
                      as well the purchase or rental of a single movie).

                      You may offer a single subscription that is shared across
                      your own apps and services, but these subscriptions may
                      not extend to third-party apps or services. Games offered in
                      a game subscription must be owned or exclusively licensed
                      by the developer (e.g. not part of a game publishing
                      platform). Each game must be downloaded directly from the
                      App Store, must be designed to avoid duplicate payment by
                      a subscriber, and should not disadvantage non-subscriber
                      customers.

                      Subscriptions must work on all of the user’s devices where
                      the app is available. Learn more about sharing a
                      subscription across your apps.

                      Apps must not force users to rate the app, review the app,
                      download other apps, or other similar actions in order to
                      access functionality, content, or use of the app.

                      As with all apps, those offering subscriptions should allow a
                      user to get what they’ve paid for without performing
                      additional tasks, such as posting on social media, uploading
                      contacts, checking in to the app a certain number of times,
                      etc.


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                      Subscriptions may include consumable credits, gems, in-
                      game currencies, etc., and you may offer subscriptions that
                      include access to discounted consumable goods (e.g. a
                      platinum membership that exposes gem-packs for a reduced
                      price).

                      If you are changing your existing app to a subscription-based
                      business model, you should not take away the primary
                      functionality existing users have already paid for. For
                      example, let customers who have already purchased a “full
                      game unlock” continue to access the full game after you
                      introduce a subscription model for new customers.

                      Auto-renewing subscription apps may offer a free trial period
                      to customers by providing the relevant information set forth
                      in App Store Connect.

                      Apps that attempt to scam users will be removed from the
                      App Store. This includes apps that attempt to trick users into
                      purchasing a subscription under false pretenses or engage
                      in bait-and-switch and scam practices will be removed from
                      the App Store and you may be removed from the
                      Apple Developer Program. Learn more about Subscription
                      Free Trials.

                  3.1.2(b) Upgrades and Downgrades: Users should have a
                  seamless upgrade/downgrade experience and should not be
                  able to inadvertently subscribe to multiple variations of the
                  same thing. Review best practices on managing your
                  subscription upgrade and downgrade options.

                  3.1.2(c) Subscription Information: Before asking a customer to
                  subscribe, you should clearly describe what the user will get for
                  the price. How many issues per month? How much cloud
                  storage? What kind of access to your service? Ensure you
                  clearly communicate the requirements described in Schedule 2
                  of the Apple Developer Program License Agreement, found in
                  Agreements, Tax, and Banking.

                  3.1.3(a) “Reader” Apps: Apps may allow a user to access
                  previously purchased content or content subscriptions
                  (specifically: magazines, newspapers, books, audio, music,

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                  video, access to professional databases, VoIP, cloud storage,
                  and approved services such as classroom management apps),
                  provided that you agree not to directly or indirectly target iOS
                  users to use a purchasing method other than in-app purchase,
                  and your general communications about other purchasing
                  methods are not designed to discourage use of in-app
                  purchase.

                  3.1.3(b) Multiplatform Services: Apps that operate across
                  multiple platforms may allow users to access content,
                  subscriptions, or features they have acquired in your app on
                  other platforms or your web site, including consumable items in
                  multiplatform games, provided those items are also available
                  as in-app purchases within the app. You must not directly or
                  indirectly target iOS users to use a purchasing method other
                  than in-app purchase, and your general communications about
                  other purchasing methods must not discourage use of in-app
                  purchase.

                  3.1.4 Hardware-Specific Content: In limited circumstances,
                  such as when features are dependent upon specific hardware
                  to function, the app may unlock that functionality without using
                  in-app purchase (e.g. an astronomy app that adds features
                  when synced with a telescope). App features that work in
                  combination with an approved physical product (such as a toy)
                  on an optional basis may unlock functionality without using in-
                  app purchase, provided that an in-app purchase option is
                  available as well. You may not, however, require users to
                  purchase unrelated products or engage in advertising or
                  marketing activities to unlock app functionality.

                  3.1.5(a) Goods and Services Outside of the App: If your app
                  enables people to purchase goods or services that will be
                  consumed outside of the app, you must use purchase methods
                  other than in-app purchase to collect those payments, such as
                  Apple Pay or traditional credit card entry.

                  3.1.5(b) Cryptocurrencies:

                      (i) Wallets: Apps may facilitate virtual currency storage,
                      provided they are offered by developers enrolled as an


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                      organization.

                      (ii) Mining: Apps may not mine for cryptocurrencies unless
                      the processing is performed off device (e.g. cloud-based
                      mining).

                      (iii) Exchanges: Apps may facilitate transactions or
                      transmissions of cryptocurrency on an approved exchange,
                      provided they are offered by the exchange itself.

                      (iv) Initial Coin Offerings: Apps facilitating Initial Coin
                      Offerings (“ICOs”), cryptocurrency futures trading, and other
                      crypto-securities or quasi-securities trading must come from
                      established banks, securities firms, futures commission
                      merchants (“FCM”), or other approved financial institutions
                      and must comply with all applicable law.

                      (v) Cryptocurrency apps may not offer currency for
                      completing tasks, such as downloading other apps,
                      encouraging other users to download, posting to social
                      networks, etc.

                  3.1.6 Apple Pay: Apps using Apple Pay must provide all
                  material purchase information to the user prior to sale of any
                  good or service and must use Apple Pay branding and user
                  interface elements correctly, as described in the Apple Pay
                  Identity Guidelines and Human Interface Guidelines. Apps
                  using Apple Pay to offer recurring payments must, at a
                  minimum, disclose the following information:

                      The length of the renewal term and the fact that it will
                      continue until canceled

                      What will be provided during each period

                      The actual charges that will be billed to the customer

                      How to cancel

                  3.1.7 Advertising: Ads displayed in an app must be appropriate
                  for the app’s age rating, allow the user to see all information
                  used to target them for that ad (without requiring the user to
                  leave the app), and may not engage in targeted or behavioral
                  advertising based on sensitive user data such as


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                  health/medical data (e.g. from the HealthKit APIs), school and
                  classroom data (e.g. from ClassKit), or from kids (e.g. from
                  apps in the Kids Category), etc. Interstitial ads or ads that
                  interrupt or block the user experience must clearly indicate that
                  they are an ad, must not manipulate or trick users into tapping
                  into them, and must provide easily accessible and visible
                  close/skip buttons large enough for people to easily dismiss the
                  ad.

              3.2 Other Business Model Issues
              The lists below are not exhaustive, and your submission may
              trigger a change or update to our policies, but here are some
              additional dos and don’ts to keep in mind:

                  3.2.1 Acceptable

                      (i) Displaying your own apps for purchase or promotion
                      within your app, provided the app is not merely a catalog of
                      your apps.

                      (ii) Displaying or recommending a collection of third-party
                      apps that are designed for a specific approved need (e.g.
                      health management, aviation, accessibility). Your app should
                      provide robust editorial content so that it doesn’t seem like a
                      mere storefront.

                      (iii) Disabling access to specific approved rental content (e.g.
                      films, television programs, music, books) after the rental
                      period has expired; all other items and services may not
                      expire.

                      (iv) Wallet passes can be used to make or receive
                      payments, transmit offers, or offer identification (such as
                      movie tickets, coupons, and VIP credentials). Other uses
                      may result in the rejection of the app and the revocation of
                      Wallet credentials.

                      (v) Insurance apps must be free, in legal-compliance in the
                      regions distributed, and cannot use in-app purchase.

                      (vi) Approved nonprofits may fundraise directly within their
                      own apps or third-party apps, provided those fundraising



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                      campaigns adhere to all App Review Guidelines and offer
                      Apple Pay support. These apps must disclose how the funds
                      will be used, abide by all required local and federal laws, and
                      ensure appropriate tax receipts are available to donors.
                      Additional information shall be provided to App Review upon
                      request. Nonprofit platforms that connect donors to other
                      nonprofits must ensure that every nonprofit listed in the app
                      has also gone through the nonprofit approval process. Learn
                      more about becoming an approved nonprofit.

                      (vii) Apps may enable individual users to give a monetary gift
                      to another individual without using in-app purchase, provided
                      that (a) the gift is a completely optional choice by the giver,
                      and (b) 100% of the funds go to the receiver of the gift.
                      However, a gift that is connected to or associated at any
                      point in time with receiving digital content or services must
                      use in-app purchase.

                      (viii) Apps used for financial trading, investing, or money
                      management should come from the financial institution
                      performing such services or must use a public API offered by
                      the institution in compliance with its Terms & Conditions.

                  3.2.2 Unacceptable

                      (i) Creating an interface for displaying third-party apps,
                      extensions, or plug-ins similar to the App Store or as a
                      general-interest collection.

                      (ii) Monetizing built-in capabilities provided by the hardware
                      or operating system, such as Push Notifications, the camera,
                      or the gyroscope; or Apple services, such as Apple Music
                      access or iCloud storage.

                      (iii) Artificially increasing the number of impressions or click-
                      throughs of ads, as well as apps that are designed
                      predominantly for the display of ads.

                      (iv) Unless you are an approved nonprofit or otherwise
                      permitted under Section 3.2.1 (vi) above, collecting funds
                      within the app for charities and fundraisers. Apps that seek
                      to raise money for such causes must be free on the


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                      App Store and may only collect funds outside of the app,
                      such as via Safari or SMS.

                      (v) Arbitrarily restricting who may use the app, such as by
                      location or carrier.

                      (vi) Apps should allow a user to get what they’ve paid for
                      without performing additional tasks, such as posting on
                      social media, uploading contacts, checking in to the app a
                      certain number of times, etc. Apps should not require users
                      to rate the app, review the app, watch videos, download
                      other apps, tap on advertisements, or take other similar
                      actions in order to access functionality, content, use the app,
                      or receive monetary or other compensation, including but not
                      limited to gift cards and codes.

                      (vii) Artificially manipulating a user’s visibility, status, or rank
                      on other services unless permitted by that service’s Terms
                      and Conditions.

                      (viii) Apps that facilitate binary options trading are not
                      permitted on the App Store. Consider a web app instead.
                      Apps that facilitate trading in contracts for difference
                      (“CFDs”) or other derivatives (e.g. FOREX) must be properly
                      licensed in all jurisdictions where the service is available.

                      (ix) Apps must not force users to rate the app, review the
                      app, download other apps, or perform other similar actions in
                      order to access functionality, content, or use of the app.




          4. Design
          Apple customers place a high value on products that are simple,
          refined, innovative, and easy to use, and that’s what we want to see
          on the App Store. Coming up with a great design is up to you, but
          the following are minimum standards for approval to the App Store.
          And remember that even after your app has been approved, you
          should update your app to ensure it remains functional and engaging


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          to new and existing customers. Apps that stop working or offer a
          degraded experience may be removed from the App Store at any
          time.

              4.1 Copycats
              Come up with your own ideas. We know you have them, so make
              yours come to life. Don’t simply copy the latest popular app on the
              App Store, or make some minor changes to another app’s name
              or UI and pass it off as your own. In addition to risking an
              intellectual property infringement claim, it makes the App Store
              harder to navigate and just isn’t fair to your fellow developers.

              4.2 Minimum Functionality
              Your app should include features, content, and UI that elevate it
              beyond a repackaged website. If your app is not particularly
              useful, unique, or “app-like,” it doesn’t belong on the App Store. If
              your App doesn’t provide some sort of lasting entertainment value,
              it may not be accepted. Apps that are simply a song or movie
              should be submitted to the iTunes Store. Apps that are simply a
              book or game guide should be submitted to the Apple Books
              Store.

                  4.2.1 Apps using ARKit should provide rich and integrated
                  augmented reality experiences; merely dropping a model into
                  an AR view or replaying animation is not enough.

                  4.2.2 Other than catalogs, apps shouldn’t primarily be
                  marketing materials, advertisements, web clippings, content
                  aggregators, or a collection of links.

                  4.2.3

                      (i) Your app should work on its own without requiring
                      installation of another app to function.

                      (ii) Make sure you include sufficient content in the binary for
                      the app to function at launch.

                      (iii) If your app needs to download additional resources,
                      disclose the size of the download and prompt users before
                      doing so.

                  4.2.4 Apple Watch apps that appear to be a watch face are


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                  confusing, because people will expect them to work with device
                  features such as swipes, notifications, and third-party
                  complications. Creative ways of expressing time as an app
                  interface is great (say, a tide clock for surfers), but if your app
                  comes too close to resembling a watch face, we will reject it.

                  4.2.5 Apps that are primarily iCloud and iCloud Drive file
                  managers need to include additional app functionality to be
                  approved.

                  4.2.6 Apps created from a commercialized template or app
                  generation service will be rejected unless they are submitted
                  directly by the provider of the app’s content. These services
                  should not submit apps on behalf of their clients and should
                  offer tools that let their clients create customized, innovative
                  apps that provide unique customer experiences. Another
                  acceptable option for template providers is to create a single
                  binary to host all client content in an aggregated or “picker”
                  model, for example as a restaurant finder app with separate
                  customized entries or pages for each client restaurant, or as an
                  event app with separate entries for each client event.

                  4.2.7 Remote Desktop Clients: If your remote desktop app acts
                  as a mirror of specific software or services rather than a
                  generic mirror of the host device, it must comply with the
                  following:

                      (a) The app must only connect to a user-owned host device
                      that is a personal computer or dedicated game console
                      owned by the user, and both the host device and client must
                      be connected on a local and LAN-based network.

                      (b) Any software or services appearing in the client are fully
                      executed on the host device, rendered on the screen of the
                      host device, and may not use APIs or platform features
                      beyond what is required to stream the Remote Desktop.

                      (c) All account creation and management must be initiated
                      from the host device.

                      (d) The UI appearing on the client does not resemble an iOS
                      or App Store view, does not provide a store-like interface, or


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                      include the ability to browse, select, or purchase software
                      not already owned or licensed by the user. For the sake of
                      clarity, transactions taking place within mirrored software do
                      not need to use in-app purchase, provided the transactions
                      are processed on the host device.

                      (e) Thin clients for cloud-based apps are not appropriate for
                      the App Store.

              4.3 Spam
              Don’t create multiple Bundle IDs of the same app. If your app has
              different versions for specific locations, sports teams, universities,
              etc., consider submitting a single app and provide the variations
              using in-app purchase. Also avoid piling on to a category that is
              already saturated; the App Store has enough fart, burp, flashlight,
              fortune telling, dating, and Kama Sutra apps, etc. already. We will
              reject these apps unless they provide a unique, high-quality
              experience. Spamming the store may lead to your removal from
              the Developer Program.

              4.4 Extensions
              Apps hosting or containing extensions must comply with the App
              Extension Programming Guide or the Safari App Extensions
              Guide and should include some functionality, such as help
              screens and settings interfaces where possible. You should
              clearly and accurately disclose what extensions are made
              available in the app’s marketing text, and the extensions may not
              include marketing, advertising, or in-app purchases.

                  4.4.1 Keyboard extensions have some additional rules.
                  They must:

                      Provide keyboard input functionality (e.g. typed characters);

                      Follow Sticker guidelines if the keyboard includes images or
                      emoji;

                      Provide a method for progressing to the next keyboard;

                      Remain functional without full network access and without
                      requiring full access;

                      Collect user activity only to enhance the functionality of the


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                      user’s keyboard extension on the iOS device.

                  They must not:

                      Launch other apps besides Settings; or

                      Repurpose keyboard buttons for other behaviors (e.g.
                      holding down the “return” key to launch the camera).

                  4.4.2 Safari extensions must run on the current version of
                  Safari on macOS. They may not interfere with System or Safari
                  UI elements and must never include malicious or misleading
                  content or code. Violating this rule will lead to removal from the
                  Developer Program. Safari extensions should not claim access
                  to more websites than strictly necessary to function.

                  4.4.3 Stickers
                  Stickers are a great way to make Messages more dynamic and
                  fun, letting people express themselves in clever, funny,
                  meaningful ways. Whether your app contains a sticker
                  extension or you’re creating free-standing sticker packs, its
                  content shouldn’t offend users, create a negative experience,
                  or violate the law.

                      (i) In general, if it wouldn’t be suitable for the App Store, it
                      doesn’t belong in a sticker.

                      (ii) Consider regional sensitivities, and do not make your
                      sticker pack available in a country where it could be poorly
                      received or violate local law.

                      (iii) If we don’t understand what your stickers mean, include
                      a clear explanation in your review notes to avoid any delays
                      in the review process.

                      (iv) Ensure your stickers have relevance beyond your friends
                      and family; they should not be specific to personal events,
                      groups, or relationships.

                      (v) You must have all the necessary copyright, trademark,
                      publicity rights, and permissions for the content in your
                      stickers, and shouldn’t submit anything unless you’re
                      authorized to do so. Keep in mind that you must be able to
                      provide verifiable documentation upon request. Apps with

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                      sticker content you don’t have rights to use will be removed
                      from the App Store and repeat offenders will be removed
                      from the Developer Program. If you believe your content has
                      been infringed by another provider, submit a claim here.

              4.5 Apple Sites and Services

                  4.5.1 Apps may use approved Apple RSS feeds such as the
                  iTunes Store RSS feed, but may not scrape any information
                  from Apple sites (e.g. apple.com, the iTunes Store, App Store,
                  App Store Connect, developer portal, etc.) or create rankings
                  using this information.

                  4.5.2 Apple Music

                      (i) The MusicKit APIs let customers access their subscription
                      while using your app. They are intended for simple music
                      playback by Apple Music subscribers. Users must initiate the
                      playback of an Apple Music stream and be able to navigate
                      using standard media controls such as “play,” “pause,” and
                      “skip.” Moreover, your app may not require payment or
                      indirectly monetize access to the Apple Music service (e.g.
                      in-app purchase, advertising, requesting user info, etc.). Do
                      not download, upload, or enable sharing of music files
                      sourced from the MusicKit APIs, except as explicitly
                      permitted in MusicKit documentation.

                      (ii) Using the MusicKit APIs is not a replacement for securing
                      the licenses you might need for a deeper or more complex
                      music integration. For example, if you want your app to play
                      a specific song at a particular moment, or to create audio or
                      video files that can be shared to social media, you’ll need to
                      contact rights-holders directly to get their permission (e.g.
                      synchronization or adaptation rights) and assets. Cover art
                      and other metadata may only be used in connection with
                      music playback or playlists (including App Store screenshots
                      displaying your app’s functionality), and should not be used
                      in any marketing or advertising without getting specific
                      authorization from rights-holders. Make sure to follow the
                      Apple Music Identity Guidelines when integrating Apple
                      Music services in your app.

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                      (iii) Apps that access Apple Music user data, such as
                      playlists and favorites, must clearly disclose this access in
                      the purpose string. Any data collected may not be shared
                      with third parties for any purpose other than supporting or
                      improving the app experience. This data may not be used to
                      identify users or devices, or to target advertising.

                  4.5.3 Do not use Apple Services to spam, phish, or send
                  unsolicited messages to customers, including Game Center,
                  Push Notifications, etc. Do not attempt to reverse lookup, trace,
                  relate, associate, mine, harvest, or otherwise exploit Player
                  IDs, aliases, or other information obtained through Game
                  Center, or you will be removed from the Developer Program.

                  4.5.4 Push Notifications must not be required for the app to
                  function, and should not be used to send sensitive personal or
                  confidential information. Push Notifications should not be used
                  for promotions or direct marketing purposes unless customers
                  have explicitly opted in to receive them via consent language
                  displayed in your app’s UI, and you provide a method in your
                  app for a user to opt out from receiving such messages. Abuse
                  of these services may result in revocation of your privileges.

                  4.5.5 Only use Game Center Player IDs in a manner approved
                  by the Game Center terms and do not display them in the app
                  or to any third party.

                  4.5.6 Apps may use Unicode characters that render as Apple
                  emoji in their app and app metadata. Apple emoji may not be
                  used on other platforms or embedded directly in your app
                  binary.

              4.6 Alternate App Icons
              Apps may display customized icons, for example, to reflect a
              sports team preference, provided that each change is initiated by
              the user and the app includes settings to revert to the original
              icon. All icon variants must relate to the content of the app and
              changes should be consistent across all system assets, so that
              the icons displayed in Settings, Notifications, etc. match the new
              springboard icon. This feature may not be used for dynamic,
              automatic, or serial changes, such as to reflect up-to-date weather

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              information, calendar notifications, etc.

              4.7 HTML5 Games, Bots, etc.
              Apps may contain or run code that is not embedded in the binary
              (e.g. HTML5-based games, bots, etc.), as long as code
              distribution isn’t the main purpose of the app, the code is not
              offered in a store or store-like interface, and provided that the
              software (1) is free or purchased using in-app purchase; (2) only
              uses capabilities available in a standard WebKit view (e.g. it must
              open and run natively in Safari without modifications or additional
              software); your app must use WebKit and JavaScript Core to run
              third-party software and should not attempt to extend or expose
              native platform APIs to third-party software; (3) is offered by
              developers that have joined the Apple Developer Program and
              signed the Apple Developer Program License Agreement; (4)
              does not provide access to real money gaming, lotteries, or
              charitable donations; (5) adheres to the terms of these App
              Review Guidelines (e.g. does not include objectionable content);
              and (6) does not offer digital goods or services for sale. Upon
              request, you must provide an index of software and metadata
              available in your app. It must include Apple Developer Program
              Team IDs for the providers of the software along with a URL
              which App Review can use to confirm that the software complies
              with the requirements above.

              4.8 Sign in with Apple
              Apps that use a third-party or social login service (such as
              Facebook Login, Google Sign-In, Sign in with Twitter, Sign In with
              LinkedIn, Login with Amazon, or WeChat Login) to set up or
              authenticate the user’s primary account with the app must also
              offer Sign in with Apple as an equivalent option. A user’s primary
              account is the account they establish with your app for the
              purposes of identifying themselves, signing in, and accessing your
              features and associated services.

              Sign in with Apple is not required if:

                  Your app exclusively uses your company’s own account setup
                  and sign-in systems.

                  Your app is an education, enterprise, or business app that


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                  requires the user to sign in with an existing education or
                  enterprise account.

                  Your app uses a government or industry-backed citizen
                  identification system or electronic ID to authenticate users.

                  Your app is a client for a specific third-party service and users
                  are required to sign in to their mail, social media, or other third-
                  party account directly to access their content.




          5. Legal
          Apps must comply with all legal requirements in any location where
          you make them available (if you’re not sure, check with a lawyer).
          We know this stuff is complicated, but it is your responsibility to
          understand and make sure your app conforms with all local laws, not
          just the guidelines below. And of course, apps that solicit, promote,
          or encourage criminal or clearly reckless behavior will be rejected. In
          extreme cases, such as apps that are found to facilitate human
          trafficking and/or the exploitation of children, appropriate authorities
          will be notified.

              5.1 Privacy
              Protecting user privacy is paramount in the Apple ecosystem, and
              you should use care when handling personal data to ensure
              you’ve complied with privacy best practices, applicable laws and
              the terms of the Apple Developer Program License Agreement,
              not to mention customer expectations. More particularly:

                  5.1.1 Data Collection and Storage

                      (i) Privacy Policies: All apps must include a link to their
                      privacy policy in the App Store Connect metadata field and
                      within the app in an easily accessible manner. The privacy
                      policy must clearly and explicitly:
                          Identify what data, if any, the app/service collects, how it
                          collects that data, and all uses of that data.



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                          Confirm that any third party with whom an app shares
                          user data (in compliance with these Guidelines) — such
                          as analytics tools, advertising networks and third-party
                          SDKs, as well as any parent, subsidiary or other related
                          entities that will have access to user data — will provide
                          the same or equal protection of user data as stated in the
                          app’s privacy policy and required by these Guidelines.

                          Explain its data retention/deletion policies and describe
                          how a user can revoke consent and/or request deletion of
                          the user’s data.

                      (ii) Permission Apps that collect user or usage data must
                      secure user consent for the collection, even if such data is
                      considered to be anonymous at the time of or immediately
                      following collection. Paid functionality must not be dependent
                      on or require a user to grant access to this data. Apps must
                      also provide the customer with an easily accessible and
                      understandable way to withdraw consent. Ensure your
                      purpose strings clearly and completely describe your use of
                      the data. Apps that collect data for a legitimate interest
                      without consent by relying on the terms of the European
                      Union’s General Data Protection Regulation (“GDPR”) or
                      similar statute must comply with all terms of that law. Learn
                      more about Requesting Permission.

                      (iii) Data Minimization: Apps should only request access to
                      data relevant to the core functionality of the app and should
                      only collect and use data that is required to accomplish the
                      relevant task. Where possible, use the out-of-process picker
                      or a share sheet rather than requesting full access to
                      protected resources like Photos or Contacts.

                      (iv) Access Apps must respect the user’s permission settings
                      and not attempt to manipulate, trick, or force people to
                      consent to unnecessary data access. For example, apps that
                      include the ability to post photos to a social network must not
                      also require microphone access before allowing the user to
                      upload photos. Where possible, provide alternative solutions
                      for users who don’t grant consent. For example, if a user
                      declines to share Location, offer the ability to manually enter


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                      an address.

                      (v) Account Sign-In: If your app doesn’t include significant
                      account-based features, let people use it without a log-in.
                      Apps may not require users to enter personal information to
                      function, except when directly relevant to the core
                      functionality of the app or required by law. If your core app
                      functionality is not related to a specific social network (e.g.
                      Facebook, WeChat, Weibo, Twitter, etc.), you must provide
                      access without a login or via another mechanism. Pulling
                      basic profile information, sharing to the social network, or
                      inviting friends to use the app are not considered core app
                      functionality. The app must also include a mechanism to
                      revoke social network credentials and disable data access
                      between the app and social network from within the app. An
                      app may not store credentials or tokens to social networks
                      off of the device and may only use such credentials or
                      tokens to directly connect to the social network from the app
                      itself while the app is in use.

                      (vi) Developers that use their apps to surreptitiously discover
                      passwords or other private data will be removed from the
                      Developer Program.

                      (vii) SafariViewController must be used to visibly present
                      information to users; the controller may not be hidden or
                      obscured by other views or layers. Additionally, an app may
                      not use SafariViewController to track users without their
                      knowledge and consent.

                      (viii) Apps that compile personal information from any source
                      that is not directly from the user or without the user’s explicit
                      consent, even public databases, are not permitted on the
                      App Store.

                      (ix) Apps that provide services in highly-regulated fields
                      (such as banking and financial services, healthcare, and air
                      travel) or that require sensitive user information should be
                      submitted by a legal entity that provides the services, and
                      not by an individual developer.

                  5.1.2 Data Use and Sharing


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                      (i) Unless otherwise permitted by law, you may not use,
                      transmit, or share someone’s personal data without first
                      obtaining their permission. You must provide access to
                      information about how and where the data will be used. Data
                      collected from apps may only be shared with third parties to
                      improve the app or serve advertising (in compliance with the
                      Apple Developer Program License Agreement). Apps that
                      share user data without user consent or otherwise complying
                      with data privacy laws may be removed from sale and may
                      result in your removal from the Apple Developer Program.

                      (ii) Data collected for one purpose may not be repurposed
                      without further consent unless otherwise explicitly permitted
                      by law.

                      (iii) Apps should not attempt to surreptitiously build a user
                      profile based on collected data and may not attempt,
                      facilitate, or encourage others to identify anonymous users
                      or reconstruct user profiles based on data collected from
                      Apple-provided APIs or any data that you say has been
                      collected in an “anonymized,” “aggregated,” or otherwise
                      non-identifiable way.

                      (iv) Do not use information from Contacts, Photos, or other
                      APIs that access user data to build a contact database for
                      your own use or for sale/distribution to third parties, and
                      don’t collect information about which other apps are installed
                      on a user’s device for the purposes of analytics or
                      advertising/marketing.

                      (v) Do not contact people using information collected via a
                      user’s Contacts or Photos, except at the explicit initiative of
                      that user on an individualized basis; do not include a Select
                      All option or default the selection of all contacts. You must
                      provide the user with a clear description of how the message
                      will appear to the recipient before sending it (e.g. What will
                      the message say? Who will appear to be the sender?).

                      (vi) Data gathered from the HomeKit API, HealthKit,
                      Consumer Health Records API, MovementDisorder APIs,
                      ClassKit or from depth and/or facial mapping tools (e.g.


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                      ARKit, Camera APIs, or Photo APIs) may not be used for
                      marketing, advertising or use-based data mining, including
                      by third parties. Learn more about best practices for
                      implementing CallKit, HealthKit, ClassKit, and ARKit.

                      (vii) Apps using Apple Pay may only share user data
                      acquired via Apple Pay with third parties to facilitate or
                      improve delivery of goods and services.

                  5.1.3 Health and Health Research
                  Health, fitness, and medical data are especially sensitive and
                  apps in this space have some additional rules to make sure
                  customer privacy is protected:

                      (i) Apps may not use or disclose to third parties data
                      gathered in the health, fitness, and medical research context
                      —including from the Clinical Health Records API,
                      HealthKit API, Motion and Fitness, MovementDisorderAPIs,
                      or health-related human subject research—for advertising,
                      marketing, or other use-based data mining purposes other
                      than improving health management, or for the purpose of
                      health research, and then only with permission. Apps may,
                      however, use a user’s health or fitness data to provide a
                      benefit directly to that user (such as a reduced insurance
                      premium), provided that the app is submitted by the entity
                      providing the benefit, and the data is not be shared with a
                      third party. You must disclose the specific health data that
                      you are collecting from the device.

                      (ii) Apps must not write false or inaccurate data into
                      HealthKit or any other medical research or health
                      management apps, and may not store personal health
                      information in iCloud.

                      (iii) Apps conducting health-related human subject research
                      must obtain consent from participants or, in the case of
                      minors, their parent or guardian. Such consent must include
                      the (a) nature, purpose, and duration of the research; (b)
                      procedures, risks, and benefits to the participant; (c)
                      information about confidentiality and handling of data
                      (including any sharing with third parties); (d) a point of


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                      contact for participant questions; and (e) the withdrawal
                      process.

                      (iv) Apps conducting health-related human subject research
                      must secure approval from an independent ethics review
                      board. Proof of such approval must be provided upon
                      request.

                  5.1.4 Kids
                  For many reasons, it is critical to use care when dealing with
                  personal data from kids, and we encourage you to carefully
                  review all the requirements for complying with laws like the
                  Children’s Online Privacy Protection Act (“COPPA”), the
                  European Union’s General Data Protection Regulation
                  (“GDPR”), and any other applicable regulations or laws.

                  Apps may ask for birthdate and parental contact information
                  only for the purpose of complying with these statutes, but must
                  include some useful functionality or entertainment value
                  regardless of a person’s age.

                  Apps intended primarily for kids should not include third-party
                  analytics or third-party advertising. This provides a safer
                  experience for kids. In limited cases, third-party analytics and
                  third-party advertising may be permitted provided that the
                  services adhere to the same terms set forth in Guideline 1.3.

                  Moreover, apps in the Kids Category or those that collect,
                  transmit, or have the capability to share personal information
                  (e.g. name, address, email, location, photos, videos, drawings,
                  the ability to chat, other personal data, or persistent identifiers
                  used in combination with any of the above) from a minor must
                  include a privacy policy and must comply with all applicable
                  children’s privacy statutes. For the sake of clarity, the parental
                  gate requirement for the Kid’s Category is generally not the
                  same as securing parental consent to collect personal data
                  under these privacy statutes.

                  As a reminder, Guideline 2.3.8 requires that use of terms like
                  “For Kids” and “For Children” in app metadata is reserved for
                  the Kids Category. Apps not in the Kids Category cannot



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                  include any terms in app name, subtitle, icon, screenshots or
                  description that imply the main audience for the app is children.

                  5.1.5 Location Services
                  Use Location services in your app only when it is directly
                  relevant to the features and services provided by the app.
                  Location-based APIs shouldn’t be used to provide emergency
                  services or autonomous control over vehicles, aircraft, and
                  other devices, except for small devices such as lightweight
                  drones and toys, or remote control car alarm systems, etc.
                  Ensure that you notify and obtain consent before collecting,
                  transmitting, or using location data. If your app uses location
                  services, be sure to explain the purpose in your app; refer to
                  the Human Interface Guidelines for best practices on doing so.

              5.2 Intellectual Property
              Make sure your app only includes content that you created or that
              you have a license to use. Your app may be removed if you’ve
              stepped over the line and used content without permission. Of
              course, this also means someone else’s app may be removed if
              they’ve “borrowed” from your work. If you believe your intellectual
              property has been infringed by another developer on the
              App Store, submit a claim via our web form. Laws differ in
              different countries, but at the very least, make sure to avoid the
              following common errors:

                  5.2.1 Generally: Don’t use protected third-party material such
                  as trademarks, copyrighted works, or patented ideas in your
                  app without permission, and don’t include misleading, false, or
                  copycat representations, names, or metadata in your app
                  bundle or developer name. Apps should be submitted by the
                  person or legal entity that owns or has licensed the intellectual
                  property and other relevant rights.

                  5.2.2 Third-Party Sites/Services: If your app uses, accesses,
                  monetizes access to, or displays content from a third-party
                  service, ensure that you are specifically permitted to do so
                  under the service’s terms of use. Authorization must be
                  provided upon request.

                  5.2.3 Audio/Video Downloading: Apps should not facilitate


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                  illegal file sharing or include the ability to save, convert, or
                  download media from third-party sources (e.g. Apple Music,
                  YouTube, SoundCloud, Vimeo, etc.) without explicit
                  authorization from those sources. Streaming of audio/video
                  content may also violate Terms of Use, so be sure to check
                  before your app accesses those services. Documentation must
                  be provided upon request.

                  5.2.4 Apple Endorsements: Don’t suggest or imply that Apple is
                  a source or supplier of the App, or that Apple endorses any
                  particular representation regarding quality or functionality. If
                  your app is selected as an “Editor’s Choice,” Apple will apply
                  the badge automatically.

                  5.2.5 Apple Products: Don’t create an app that appears
                  confusingly similar to an existing Apple product, interface (e.g.
                  Finder), app (such as the App Store, iTunes Store, or
                  Messages) or advertising theme. Apps and extensions,
                  including third-party keyboards and Sticker packs, may not
                  include Apple emoji. iTunes music previews may not be used
                  for their entertainment value (e.g. as the background music to a
                  photo collage or the soundtrack to a game) or in any other
                  unauthorized manner. If your app displays Activity rings, they
                  should not visualize Move, Exercise, or Stand data in a way
                  that resembles the Activity control. The Human Interface
                  Guidelines have more information on how to use Activity rings.

              5.3 Gaming, Gambling, and Lotteries
              Gambling, gaming, and lotteries can be tricky to manage and tend
              to be one of the most regulated offerings on the App Store. Only
              include this functionality if you’ve fully vetted your legal obligations
              everywhere you make your app available and are prepared for
              extra time during the review process. Some things to keep in
              mind:

                  5.3.1 Sweepstakes and contests must be sponsored by the
                  developer of the app.

                  5.3.2 Official rules for sweepstakes, contests, and raffles must
                  be presented in the app and make clear that Apple is not a
                  sponsor or involved in the activity in any manner.


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                  5.3.3 Apps may not use in-app purchase to purchase credit or
                  currency for use in conjunction with real money gaming of any
                  kind, and may not enable people to purchase lottery or raffle
                  tickets or initiate fund transfers in the app.

                  5.3.4 Apps that offer real money gaming (e.g. sports betting,
                  poker, casino games, horse racing) or lotteries must have
                  necessary licensing and permissions in the locations where the
                  App is used, must be geo-restricted to those locations, and
                  must be free on the App Store. Illegal gambling aids, including
                  card counters, are not permitted on the App Store. Lottery apps
                  must have consideration, chance, and a prize.

              5.4 VPN Apps
              Apps offering VPN services must utilize the NEVPNManager API
              and may only be offered by developers enrolled as an
              organization. You must make a clear declaration of what user data
              will be collected and how it will be used on an app screen prior to
              any user action to purchase or otherwise use the service. Apps
              offering VPN services may not sell, use, or disclose to third parties
              any data for any purpose, and must commit to this in their privacy
              policy. VPN apps must not violate local laws, and if you choose to
              make your VPN app available in a territory that requires a VPN
              license, you must provide your license information in the App
              Review Notes field. Parental control, content blocking, and
              security apps, among others, from approved providers may also
              use the NEVPNManager API. Apps that do not comply with this
              guideline will be removed from the App Store and you may be
              removed from the Apple Developer Program.

              5.5 Mobile Device Management
              Mobile Device Management Apps that offer Mobile Device
              Management (MDM) services must request this capability from
              Apple. Such apps may only be offered by commercial enterprises
              (such as business organizations, educational institutions, or
              government agencies), and in limited cases, companies using
              MDM for parental control services or device security. You must
              make a clear declaration of what user data will be collected and
              how it will be used on an app screen prior to any user action to
              purchase or otherwise use the service. MDM apps must not


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              violate any applicable laws. Apps offering MDM services may not
              sell, use, or disclose to third parties any data for any purpose, and
              must commit to this in their privacy policy. In limited cases, third-
              party analytics may be permitted provided that the services only
              collect or transmit data about the performance of the developer’s
              MDM app, and not any data about the user, the user’s device, or
              other apps used on that device. Apps offering configuration
              profiles must also adhere to these requirements. Apps that do not
              comply with this guideline will be removed from the App Store and
              you may be removed from the Apple Developer Program.

              5.6 Developer Code of Conduct
              Please treat everyone with respect, whether in your responses to
              App Store reviews, customer support requests, or when
              communicating with Apple, including your responses in Resolution
              Center. Do not engage in harassment of any kind, discriminatory
              practices, intimidation, bullying, and don’t encourage others to
              engage in any of the above.

              Customer trust is the cornerstone of the App Store’s success.
              Apps should never prey on users or attempt to rip-off customers,
              trick them into making unwanted purchases, force them to share
              unnecessary data, raise prices in a tricky manner, charge for
              features or content that are not delivered, or engage in any other
              manipulative practices within or outside of the app.

              5.6.1 App Store Reviews
              App Store customer reviews can be an integral part of the app
              experience, so you should treat customers with respect when
              responding to their comments. Keep your responses targeted to
              the user’s comments and do not include personal information,
              spam, or marketing in your response.

              Use the provided API to prompt users to review your app; this
              functionality allows customers to provide an App Store rating and
              review without the inconvenience of leaving your app, and we will
              disallow custom review prompts.




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          After You Submit
          Once you’ve submitted your app and metadata in
          App Store Connect and you’re in the review process, here are some
          things to keep in mind:

              Timing: App Review will examine your app as soon as we can.
              However, if your app is complex or presents new issues, it may
              require greater scrutiny and consideration. And remember that if
              your app is repeatedly rejected for the same guideline violation or
              you’ve attempted to manipulate the App Review process, review
              of your app will take longer to complete. Learn more about App
              Review.

              Status Updates: The current status of your app will be reflected in
              App Store Connect, so you can keep an eye on things from there.

              Expedite Requests: If you have a critical timing issue, you can
              request an expedited review. Please respect your fellow
              developers by seeking expedited review only when you truly need
              it. If we find you’re abusing this system, we may reject your
              requests going forward.

              Release Date: If your release date is set for the future, the app will
              not appear on the App Store until that date, even if it is approved
              by App Review. And remember that it can take up to 24-hours for
              your app to appear on all selected storefronts.

              Rejections: Our goal is to apply these guidelines fairly and
              consistently, but nobody’s perfect. If your app has been rejected
              and you have questions or would like to provide additional
              information, please use the Resolution Center to communicate
              directly with the App Review team. This may help get your app on
              the store, and it can help us improve the App Review process or
              identify a need for clarity in our policies. If you still disagree with
              the outcome, please submit an appeal.

          We’re excited to see what you come up with next!


          Last Updated: 04 March 2020




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